
Argued before Barbera, C.J., Greene, Adkins, McDonald, Watts, Hotten, Getty, JJ.
PER CURIAM ORDER
**46For reasons to be stated in an opinion later to be filed, it is this 9th day September 2016,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Shakaira Simone Mollock be, and she is hereby, disbarred, effective immediately, from the further practice of law in the State of Maryland; and it is further
ORDERED that the Clerk of this Court shall strike the name of Shakaira Simone Mollock from the register of attorneys, and pursuant to Maryland Rule 19-761, shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State; and it is further *1054ORDERED that Respondent shall pay all costs as taxed by the Clerk of this Court, including the costs of all transcripts, pursuant to Maryland Rule 19-709, for which sum judgment is **47entered in favor of the Attorney Grievance Commission of Maryland against Shakaira Simone Mollock.
